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                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
  In re      Scungio Borst & Associates, LLC                                                             Case No.    22-10609(AMC)
                                                                                     Debtor(s)           Chapter     11__________




                                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Scungio Borst & Associates, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Philip L. Borst
 641 Pugh Road
 Wayne, PA 19087
 Scungio & Company, LLC
 cZo Scott P. Scungio
 117 Moore Drive
 Media, PA 19063




□ None [Check if applicable}




 April 8,2022                                                          ZsZ Aris J. Karalis
 Date                                                                  Aris J. Karalis
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Scungio Borst & Associates, LLC
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